IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 08-0523
                              ((((((((((((((((

                    Texas Lottery Commission, Petitioner

                                     v.

   First State Bank of DeQueen, Stone Street Capital, Inc., and Cletius L.
                             Irvan, Respondents

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                           On Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((

      ORDER

      1.    Pursuant to the suggestion of bankruptcy of  Cletius  L.  Irvan,
filed with this Court on April 20, 2009, this case is  ABATED  effective  as
of February 4, 2009.
      2.    This case is abated pursuant  to  Tex.  R.  App.  P.  8.2  until
further order of this Court and is removed from the Court's  active  docket,
subject to reinstatement upon proper motion.  Tex.  R.  App.  P.  8.3.   All
motions and other documents pending or filed are  abated  subject  to  being
reurged in the event the case is reinstated.  Tex. R. App. P. 8.2  and  8.3.
It is the parties' responsibility to immediately notify this Court once  the
automatic bankruptcy stay is lifted.

      Done at the City of Austin, this 1st day of May, 2009.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




